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                BEFORE THE UNITED STATES JUDICIAL PANEL
                       ON MULTIDISTRICT LITIGATION
__________________________________________
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                  MDL No. 2804
_______________________________________________
This Document Relates to:
The Cherokee Nation v. McKesson Corporation et al.
Case No. 18-CV-56-RAW (E.D. Okla.)


    CHEROKEE NATION’S OPPOSITION TO MOVANTS’ MOTION TO VACATE
                   CONDITIONAL REMAND ORDER

       Defendants’ Motion to Vacate should be denied because the Cherokee Nation’s claim is

both typical and representative of other Indian tribes involved in this litigation. The basic theory

of the Cherokee Nation’s case is that defendants’ oversupply of prescription opioids through

wholesale and retail channels harmed the Cherokee Nation in its sovereign capacity, created a

nuisance, and that defendants are responsible for paying damages and abatement. This is the same

theory asserted by hundreds of other federally-recognized Indian tribes in the MDL, and none of

the allegedly “atypical” aspects of the Cherokee Nation’s case would interfere with its ability to

serve an exemplary bellwether upon its remand to Oklahoma. All Indian tribes—like all states, or

all cities—have differences in their populations, geographies, governance, land, healthcare, and so

on. But these differences are not material differences for purposes of opioid litigation. Movants

have simply latched onto any arguably distinctive geopolitical characteristic of the Cherokee

Nation in hopes of preventing remand. But these are false distinctions, contrived by Movants,

driven by their apparent desire to avoid litigating against the Cherokee Nation in Oklahoma.

Movants fail to even superficially explain how the purported “differences” among tribes have any

necessary relevance to opioid litigation. The MDL court’s suggestion for remand of Cherokee

Nation is fully aligned with the court’s stated objectives and principles governing selective

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remand. The MDL court gave careful consideration to all the objections Movants raise in their

motion to vacate, and nevertheless determined Cherokee Nation should be remanded. This Panel

should sustain the court’s decision, and deny the motion to vacate.

                                         BACKGROUND

         On September 26, 2019, the parties attended a hearing before Judge Polster to discuss a

process for remanding certain opioid cases—including at least one tribal case—to transferor

jurisdictions for trial settings. About a month after the hearing, the parties submitted position

papers, and then attended a second court conference on November 6, 2019 to resume the remand

discussion.

         In its November 5, 2019 position paper, the Plaintiffs’ Executive Committee of the MDL

(“PEC”) proposed Cherokee Nation v. McKesson as a tribal remand candidate. (ECF No. 2906 at

9). The Distributors also submitted a position paper, which did not nominate a specific tribe, but

it proposed a process for winnowing the candidates. (ECF No. 2908 at 3).1 Distributors also

proposed that any cases to be remanded should be remanded “in the entirety”—meaning the

number of claims and defendants should not be streamlined by the MDL court as a condition of

remand. Id. at 7.

         At the status conference on November 6, 2019, Judge Polster summarized his thinking on

the issues framed by the position papers. He indicated that cases to be remanded should, in fact,

be streamlined to some extent. “No jury can focus for eight months,” Judge Polster explained, “I

want cases that juries can understand[.]” Nov. 6, 2019 Hr’g Tr. 9:24; 10:21-22. The cases should

be “structured and focused” and should present “one or two legal theories”—i.e., such as the theory

of distributor liability combined with the theory of dispensing liability—“that can be tried in my



1
    The Pharmacies’ position paper did not address tribes.
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view in about a month.” Id. 4:12-16. Judge Polster invited another round of position papers from

the parties before deciding which cases should be remanded.

       The November 6 status conference did not establish any absolute rules or mandatory

criteria governing which cases should be proposed for remand. The court instead articulated a set

of principles and objectives. With respect to Indian tribes, Judge Polster viewed Cherokee Nation

as the logical choice. Id. 29:23-25. Although he had not yet resolved which defendants and which

claims should be tried in the Cherokee case, if that were the tribal case to be remanded, he noted

that it should certainly involve fewer than “25 defendants and 10 causes of action.” Id. 31:13-16;

32:19-20. By the same token, he also cautioned against remanding a tribal case with too few

defendants. Id. 40:24-25.

       On or about November 13, 2019, the parties submitted additional position papers. The PEC

along with the MDL’s “Tribal Leadership Committee”—the MDL committee whose members

collectively represent the vast majority of all the Indian tribes involved in opioid litigation—

advocated for remand of the Cherokee Nation’s case. Plaintiffs’ position paper explained that (1)

the Cherokee Nation was generally representative of all Indian tribes in the MDL; (2) its opioid

lawsuit was generally representative of tribal opioid litigation; and (3) Oklahoma was an

appropriate jurisdiction for trial. (ECF No. 2935 at 9-10).

       The    Defendants    disagreed.   They    proposed     Blackfeet   Indian   Reservation   v.

AmerisourceBergen Drug Corp., et al. as the tribal bellwether—claiming among other things that

Blackfeet had the advantage of naming companies at multiple levels of the supply chain as

defendants. (ECF No. 2934 at 4). The Pharmacy Defendants echoed this claim by favorably

pointing out Blackfeet had sued “a variety of defendants from all three industry groups.” (ECF

No. 2933 at 2) (emphasis added). In other words, although the Blackfeet complaint involved more



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claims, more defendants, and more legal theories than the Cherokee Nation’s case, the Movants

suggested this additional complexity of Blackfeet actually factored in favor of remand.

       On November 19, 2019, the MDL court issued Suggestions of Remand. (ECF No. 2941).

The court summarized its deep involvement in the Opiate MDL for the past two years, articulated

objectives for the strategic remands, and identified Cherokee Nation v. McKesson as the tribal

remand case. Judge Polster made this suggestion based on his determination that it was “the best

way to advance resolution of various aspects of the Opiate MDL.” (ECF No. 2941 at 7). This Panel

subsequently entered a conditional remand order, and the Movants’ motion to vacate predictably

ensued.

                                         ARGUMENT

A.     Remanding Cherokee Nation is consistent with Judge Polster’s principles and
       objectives for strategic remands.

       Movants contend remanding Cherokee Nation would “directly contradict the standards for

remand that the MDL court itself articulated.” Mot. 1.2 This argument fails for several reasons.

First, Movants’ argument is factually inaccurate. Their motion to vacate quotes (without full

context) several comments by Judge Polster about streamlining cases. Almost none of these

comments applied to the tribal bellwether case. In fact, when discussing Cherokee Nation’s

remand, Judge Polster’s guidance was essentially only that the case should involve more than two

defendants, and less than 25. See Tr. 32:19-20; 40:24-25.

       Second, Movants’ argument is legally and logically flawed. The propriety of MDL

remands is governed by JPML Rule 7.6, as well as case law providing that the transferee court has



2
  When Movants refer to the “standards for remand”—which they claim were breached by the
court—they are merely referencing the general comments Judge Polster made at the November 6,
2019 hearing, which occurred at a time when there was ongoing consideration and debate about
the evolving criteria for remand, and before the close of briefing on these issues.
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broad discretion when it comes to making recommendations for strategic remand.3 Movants do

not substantively argue the MDL court abused its discretion or breached any substantive

requirement of Rule 7.6 or the relevant case law. Rather, they seem to simply suggest that Judge

Polster’s comments during a status conference somehow set up a binding “standard” to which he

was then required to strictly adhere, and that he allegedly did not do so. Movants have cited no

authority for this novel position, and there is no support for it. Certainly any court is permitted to

evolve from comments made at a status conference—especially in circumstances like these where

the parties were subsequently directed to confer, and to file a number of additional briefs on the

issues under consideration. In sum, Movants’ central argument amounts to nothing more than an

accusation that Judge Polster contradicted himself; even if this were true (which it is not), it is

certainly not substantive grounds to upend the court’s ultimate decision.

       Third, Movants’ argument is demonstrably hypocritical. They claim Cherokee Nation is

too complex since it asserts four or five claims against six defendants from two levels of the supply

chain.4 Movants purport to be “confounded” that Judge Polster would suggest remand for a case

with five claims against six defendants. Mot. 8. But Movants themselves urged Judge Polster to



3
  See In re Asbestos Prod. Liab. Litig. (No. VI), 545 F. Supp. 2d 1362, 1363 (J.P.M.L. 2008) (“In
considering the question of remand, the Panel has consistently given great weight to the transferee
judge’s determination that remand of a particular action at a particular time is appropriate because
the transferee judge, after all, supervises the day-to-day pretrial proceedings.” (internal citations
omitted)); In re Brand-Name Prescription Drugs Antitrust Litig., 264 F. Supp. 2d 1372, 1376
(J.P.M.L. 2003) (“[I]t is not surprising that the Panel consistently has given great weight to the
transferee judge’s informed determination that remand at a given point in time is appropriate.”).
4
  Movants incorrectly claim the Cherokee Nation asserted five causes of action, one of them
allegedly being “unfair and deceptive practices.” There is no such claim in the Cherokee complaint.
The counts are: Nuisance, Negligence, Negligence Per Se, Unjust Enrichment, and Civil
Conspiracy. Because both negligence counts sound in the same cause of action—i.e., negligence—
there are actually four substantive causes of action, all of which are based on essentially the same
body of evidence.


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remand an Indian tribe case with substantially more claims and more defendants. More

specifically, Movants proposed Blackfeet—and they did so expressly because the case involved a

greater mix of defendants from all three levels of the supply chain. So the sequence of events was

that: Movants’ proposed Blackfeet, with its higher number of claims and defendants, and Plaintiffs

proposed Cherokee Nation, with its lower number of claims and defenses; then once Judge Polster

decided upon Cherokee, Movants accused him of committing a “confounding” error because

Cherokee Nation allegedly has too many claims and defendants. This position is disingenuous in

the extreme and should be summarily rejected.

       Movants assert some additional generic arguments about the burden they are facing in

discovery of the Track 1 and Track 2 cases, and in defending four state-court cases. They claim it

would be too expensive, burdensome, and ultimately unproductive to defend against an Indian

tribe case, too. However, these arguments ignore the fact that Movants themselves agreed in

principle to a tribal remand. They have not presented any reason for undoing the MDL court’s

careful determination—reached after multiple hearings and extensive briefing—that a tribal

bellwether is necessary given the sovereign status of Indian tribes and the unique issues relating to

the opioid epidemic facing the hundreds of tribal cases pending in the MDL. Moreover these

movants, some of the largest and wealthiest corporations in the country, have not made a

persuasive showing that they are unable to manage the “burden” of litigating one additional case

against a single Indian tribe.

B.     The Cherokee Nation’s lawsuit is representative of tribal cases and will be practical
       as a bellwether.

       Movants raise several arguments specific to the geography and governance of the Cherokee

Nation itself, which allegedly render Cherokee Nation v. McKesson a poor choice for remand.

Movants made all of these arguments to the MDL court. They are all either greatly exaggerated or


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completely immaterial, as explained below. As        a   preliminary   point,   however,   it   bears

emphasizing that the MDL’s Tribal Leadership Committee, whose members represent upwards of

80% of all of the American Indian/Alaska Native population in the opioid litigation, believes

Cherokee Nation is representative of the other Indian tribes in the MDL, and should be the tribal

bellwether case. (See ECF No. 2935 at 10-11).

       Turning to Movants’ specific objections,5 Movants first contend that Cherokee Nation’s

size and the “checker-boarding” of state and tribal land within its jurisdictional area render it too

complex for discovery. In particular, Movants claim this would result in having to take depositions

of county officials in 14 counties, in addition to law enforcement officials from 50 different

municipal, county, state, and federal agencies. This “parade of horribles” is vastly exaggerated, if

not wholly made up. Case-specific discovery in Cherokee Nation will be manageable, and it will

be generally representative of discovery that would occur in other tribal cases. Discovery will not

involve discovery of 14 different counties in Oklahoma, and 50 different law enforcement

agencies—because as a federally-recognized Indian tribe, the Cherokee Nation operates as a single

sovereign entity, much like a state, and operates its own unitary tribal health care system. The

MDL court specifically recognized this fact, and rejected Movants’ argument about unmanageable

discovery:

                THE COURT: Well, the entities, the Cherokee Nation is bringing
                the case and seeking damage on its own behalf. So any expenses,
                whatever, it comes from the Cherokee Nation. It wouldn't be through
                any county or county facilities. It would be here is what the
                Cherokee Nation claims that they've spent addressing the opioid
                crisis for its members. … They provide healthcare and services.




5
 Movants’ arguments in their motion to vacate were taken almost verbatim from the Distributor
defendants’ position paper submitted to the MDL court on November 13, 2019, in which they
asserted the same arguments against Cherokee Nation’s remand. (See ECF No. 2934).
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Tr. 34:7-13. In short, it is irrelevant that the Cherokee Nation’s tribal jurisdictional area, like the

reservations of many other tribes, overlaps or partially overlaps with multiple counties.

       It is also irrelevant that the Cherokee Nation’s jurisdictional area includes a “checker-

board” of tribal and non-tribal lands. Such “checker-boarding,” which is very common on Indian

reservations across the country, is the tragic result of late nineteenth century federal policy and

legislation that was designed to “assimilate” Native Americans by forcing the sale of their tribal

lands to white settlers. Because this was a nationwide federal policy, its effects are evident

throughout Indian country to this day. It does not render Cherokee Nation atypical or unsuitable

as a bellwether.

       Movants relatedly argue that the ongoing appeals in the Murphy litigation may impact the

Cherokee Nation’s opioid case. Movants hint that the Murphy appeal could set the stage for some

ominous-sounding developments, including the potential “disestablishment” of the Cherokee

reservation and perhaps even wholesale “redraw[ing] the map of Oklahoma.” Mot. 13-14, n. 15.

All drama aside, however, the outcome of Murphy will not impact discovery or trial in Cherokee

Nation whatsoever.

       Murphy is about criminal jurisdiction—specifically, whether a murder committed by

appellee Patrick Murphy took place within the boundary of the Muscogee (Creek) Nation

Reservation such that, under federal law, criminal jurisdiction would lie in federal, not state, court.

The issue to be decided by the Supreme Court is whether, as the State of Oklahoma contends, the

Creek Reservation had been disestablished by Congress at the time of Oklahoma statehood over a

century ago, so that jurisdiction in state court was proper. The Tenth Circuit decided in favor of

Murphy, and held that the Creek Reservation had not been terminated by Congress and therefore

that the state court which convicted Murphy lacked jurisdiction to do so



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       The outcome of Murphy with regard to the present day status of the Creek Reservation

could (but not necessarily) affect the present day status of the Cherokee Nation Reservation which,

in turn, could impact the scope of the Cherokee Nation’s regulatory authority within its

jurisdictional area. But even if all that comes to pass, Movants have not explained (and cannot

explain) how this pertains in any way to the straight-forward issue in Cherokee Nation’s opioid

lawsuit—i.e., whether defendants’ violated Oklahoma law in flooding Northeastern Oklahoma

with prescription opioids and as a consequence caused economic harm to the Cherokee Nation as

a sovereign government; one that is different and separate from state and local governments. The

scope of the Cherokee Nation’s regulatory authority is not at issue. All the claims are founded on

state law (not tribal law), and the case is in federal court, not tribal court. Movants’ argument about

Murphy is simply a red herring.

       Finally, Movants make several arguments related to the 2019 litigation by the State of

Oklahoma against opioid manufacturers. However, Oklahoma’s opioid litigation does not impact

the Cherokee Nation’s claims. The State’s $465 million abatement award was the result of a single

claim (public nuisance) against one manufacturing defendant, for only one year of funding for

costs to be incurred by the State to operate the specific programs listed in the State’s detailed

“nuisance abatement plan.” None of the “nuisance abatement plan” is earmarked for any program

run by Cherokee Nation, nor for any past damages incurred by any Indian tribe. None of the money

will be paid to Cherokee Nation or to any individual member of Cherokee Nation. There are simply

no “double recovery” concerns presented by the Oklahoma opioid litigation.

       Movants claim that Cherokee Nation is further “constrained under rules prohibiting double

recoveries” because some Cherokee Nation members have dual Oklahoma citizenship. Mot. 14.

This is a nonsensical argument for two reasons. First, no individual Oklahoma citizen—Cherokee



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or otherwise—is receiving any money from the Oklahoma litigation. The money is going to the

State. Therefore it is irrelevant whether some Cherokee members are Oklahoma citizens. Second,

even if individual Cherokee Nation members theoretically did receive some monetary benefit from

the Oklahoma litigation, this would have no legal or preclusive impact on the Cherokee Nation’s

own alleged damages. This is because Cherokee Nation is suing for damages incurred by the

Nation in its sovereign capacity; it is not seeking damages for its individual members.

        Next, Movants contend there is no advantage to trying a tribal bellwether case under

Oklahoma law, because Oklahoma law relating to opioid claims is “already being developed.”

Mot. 13. On the contrary, Oklahoma is a perfect jurisdiction for the tribal bellwether, because its

law is well developed. The MDL court has already analyzed hundreds of pages of briefing and

ruled on all the threshold legal issues under Oklahoma law in motions to dismiss in the Muscogee

(Creek) Nation case. See Muscogee (Creek) Nation v. Purdue et al., 1:17-MD-2804, 2019 WL

3737023 (N.D. Ohio June 13, 2019) (ECF No. 1680). It is an advantage—not a disadvantage—

that the Cherokee Nation’s complaint has properly pled claims for relief under Oklahoma law. The

Court’s prior rulings on Oklahoma law will serve as law of the case. Remanding a case to an

untested jurisdiction where the case could be dismissed on the pleadings would not help achieve

the overarching purposes of advancing the MDL through discovery and trial of bellwether cases

in other jurisdictions.

        Movants relatedly contend Oklahoma appellate courts are “likely to clarify Oklahoma law

as it relates to the opioid crisis.” Mot. 14 n. 16. But this wrongly presumes a lack of clarity in

existing Oklahoma law. In fact, law concerning opioid claims—and in particular, claims by Indian

Tribes—is clearer in Oklahoma than in virtually any other jurisdiction, primarily because of the

MDL court’s extensive work and legal rulings on Oklahoma law in the MDL. See Muscogee



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(Creek) Nation, supra (ruling on Oklahoma law pertaining to tribal opioid claims). Regardless, the

possibility of appeals is not unique to Oklahoma. There will continue to be opioid-related appeals

in many jurisdictions. This fact does not justify disturbing Judge Polster’s determination that the

Cherokee Nation would make the best tribal remand case for a trial in Oklahoma.

                                        CONCLUSION

       For these reasons, the Cherokee Nation respectfully requests that this Panel deny Movants’

motion to vacate the Panel’s conditional remand order.



Dated: January 6, 2020.
                                                     Respectfully Submitted,


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